
JUSTICE BAER, Concurring
I join in full Sections I, II, IV, V, VI, VII, and VIII of the majority opinion. I concur with Section III of the majority's expression to the extent it holds that sufficient due process was not provided in this matter pursuant to the procedures implemented by the supervising judge and his interpretation of the Investigating Grand Jury Act.1 At this juncture, unlike the majority, I would not comment on the specific nature of any deficiency nor remedy in this regard and would leave such concerns for our decision after oral argument.

Act of Oct. 5, 1980, P.L. 693, No. 142, § 216(a)(2) (as amended 42 Pa.C.S. §§ 4541 -4553 ).

